          Case 4:03-cr-00027-BMM Document 586 Filed 01/18/17 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                           CR 03-27-GF-BMM-6

                        Plaintiff,
    vs.                                                    ORDER

CANTRELL, et. al.

                        Defendant.

      Defendant Angela Danielle Walker has moved under 18 U.S.C. § 3583(e)(1)

for an early discharge from supervised release. The Government does not oppose

the motion. (Doc. 583 at 1.) Defendant’s probation officer does not object to

Defendant’s discharge from supervised release. Id. at 2-3. The Court conducted a

hearing on the motion on January 17, 2017.

      Defendant was sentenced on December 12, 2003, to 165 months of custody

followed by 5 years of supervised release. (Doc. 314.) Defendant began supervised

release on July 17, 2014. (Doc. 538 at 2.) The record reflects that Defendant has

complied with all of the conditions of her supervised release. Id. at 3. The factors

in 18 U.S.C. § 3553 support an early discharge of supervised release.
      Case 4:03-cr-00027-BMM Document 586 Filed 01/18/17 Page 2 of 2



     Accordingly, IT IS ORDERED:

     1.    Defendant’s Motion for Early Discharge from Supervised Release

(Doc. 583) is GRANTED.

     2.    Defendant is DISCHARGED from supervised release.

     DATED this 18th day of January, 2017.
